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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                              )
                                                       )             8:05CR220
                       Plaintiff,                      )
                                                       )
       vs.                                             )               ORDER
                                                       )
FRANCIS SCHRAM,                                        )
LUCILLE ERISMAN and                                    )
DONALD BROWN,                                          )
                                                       )
                       Defendants.                     )
       This matter is before the court on the motions for an extension of time by defendant Francis
Schram (Schram) (Filing No. 23) and by defendant Lucille Erisman (Erisman) (Filing No. 24).
Defendants seek an extension of time to August 29, 2005, in which to file pretrial motions pursuant
to paragraph 3 of the progression order (Filing No. 12). Defense counsel represent to the court that
counsel for the government has no objection to the motions. The defendants have submitted an
affidavit in accordance with paragraph 9 of the progression order whereby they consent to the
motions and acknowledge they understand the additional time may be excludable time for the
purposes of the Speedy Trial Act. Upon consideration, the motions will be granted. However, no
further extensions of the pretrial motion deadline will be granted unless there is a showing that a
denial of such motion would amount to a manifest injustice.
       IT IS ORDERED:
       Defendant Schram's and Erisman's motions for an extension of time (Filing Nos. 23 and 24)
are granted. Defendants are given until on or before August 29, 2005, in which to file pretrial
motions pursuant to the progression order (Filing No. 12). The ends of justice have been served
by granting such motions and outweigh the interests of the public and the defendants in a speedy
trial. The additional time arising as a result of the granting of the motions, i.e., the time between
August 1, 2005 and August 29, 2005, shall be deemed excludable time in any computation of time
under the requirement of the Speedy Trial Act for the reason defendants' counsel require additional
time to adequately prepare the case, taking into consideration due diligence of counsel, and the
novelty and complexity of this case. The failure to grant additional time might result in a miscarriage
of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).
       DATED this 1st day of August, 2005.
                                                       BY THE COURT:
                                                       s/Thomas D. Thalken
                                                       United States Magistrate Judge
